       Case 1:25-cv-01270-ACR            Document 46        Filed 07/02/25    Page 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 ROBERT F. KENNEDY HUMAN RIGHTS;                        Case No. 1:25-cv-1270-ACR
 SOUTHERN BORDER COMMUNITIES
 COALITION; URBAN JUSTICE CENTER,

                 Plaintiffs;
                                                        STATUS REPORT
        v.

 U.S. DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her official
 capacity as Secretary of Homeland Security,

                 Defendants.



       Defendants file this status report in response to the Court’s June 2 Minute Order directing

“Defendants to file another status report providing further updates on or before July 2, 2025.”

       Since the previous status report on June 2, 2025, the Offices have made progress on staffing

and continue to carry out the statutory functions. The following steps have been taken:

   A. Employees and Contracts

       1. The Deputy CIS Ombudsman has been onboarded and is working on the statutory

             duties. Three detailees continue to work on statutory duties.

       2. Interviews are being conducted for both CRCL and OIDO positions. All candidates

             are former employees.

       3. Three detailees will be onboarded at OIDO soon.

       4. All options have been exercised on all casework and investigation contracts. Currently

             the labor equivalent to 15 full-time contractors is working on CRCL and OIDO case

             work with the equivalent of six more onboarding as soon as they clear security.
   Case 1:25-cv-01270-ACR            Document 46     Filed 07/02/25     Page 2 of 5




B. Congressional Reports

   1. The CIS Ombudsman annual report is drafted and Congressional staff approved a two-

        month extension.

   2.   CRCL’s Congressional No FEAR Act Report was sent to the Office of Legislative

        Affairs for transmittal to Congress.

   3. CRCL’s Section 287(g) report is being drafted.

C. Case Work

   1. CRCL is reviewing and resolving internal Equal Employment Opportunity complaints:

           •   CRCL has issued final agency decisions on 40 EEO complaints from across the

               Department.

           •   CRCL has reviewed, approved, and issued five reports of investigations into

               EEO complaints filed by HQ employees and four reports of investigations into

               EEO complaints filed by an employee from another DHS Component.

           •   CRCL has initiated EEO complaint processing in 21 cases.

           •   CRCL has initiated EEO investigations in seven cases

           •   CRCL has adjudicated requests for amendments in five complaints

   2. CRCL and OIDO complaints that overlap are being addressed together.

           •   The Offices are investigating 60 disability discrimination complaints, most of

               which were filed by detainees, and conducting case management meetings

               twice a week.

           •   The Offices reviewed and created complaint files for all new complaints

               submitted (by mail and online) from March 24, 2025 to the present.
   Case 1:25-cv-01270-ACR          Document 46         Filed 07/02/25      Page 3 of 5




          •   CRCL issued a decision on a complaint concerning compliance with Section

              504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794, brought by Plaintiff

              (CR-015046).

          •   Lawyers in the Office of the General Counsel continue to assist with review and

              triage of complaints and refer the most urgent ones to federal staff or contractors

              to be worked.

          •   The Offices continue to assist DHS’s Privacy Office with FOIA requests and

              FOIA litigation by locating responsive records.

   3. The Offices have referred complaints to TSA for their review and action under a

      Memorandum of Agreement.

   4. The Offices are conducting PREA training on July 8, 2025.

   5. CISOMB has reviewed several hundred complaints since the March notice was issued

      and responded to trend-related inquiries from law firms and advocacy groups.

D. Discussions with leadership and the component agencies.

   1. CISOMB has regular meetings with USCIS leadership.

   2. OIDO and CRCL leadership have met with ICE to understand how detention

      complaints are being handled by ICE OPR and coordination on complaints received

      by OIDO and CRCL.

   3. OIDO and ICE have also discussed conducting detention facility inspections.

   4. CRCL and OIDO met with FEMA Office of Civil Rights to discuss oversight of 504

      and Title 6 of the Civil Rights Act and compliance by recipients of federal financial

      assistance.
       Case 1:25-cv-01270-ACR         Document 46   Filed 07/02/25       Page 4 of 5




Dated: July 2, 2025                            Respectfully submitted,

Brett A. Shumate
Assistant Attorney General
Civil Division

Eric Hamilton
Deputy Assistant Attorney General
Federal Programs

Christopher R. Hall
Assistant Branch Director
Federal Programs

Emily M. Hall
Counsel to the Assistant Attorney General
Civil Division

/s/Tiberius Davis
Tiberius Davis
Counsel to the Assistant Attorney General
Civil Division
U.S. Department of Justice
P.O. Box 878, Ben Franklin Station
Washington, DC 20044-0878
(202) 514-2000
tiberius.davis@usdoj.gov

Counsel for Defendants
       Case 1:25-cv-01270-ACR          Document 46        Filed 07/02/25     Page 5 of 5




                                CERTIFICATE OF SERVICE

       I certify that on July 2, 2025, a true and correct copy of the foregoing document was

electronically filed via the Court’s CM/ECF system which sends notice of electronic filing to all

counsel of record.

s/Tiberius Davis
Tiberius Davis
Counsel to the Assistant Attorney General
Civil Division
U.S. Department of Justice
P.O. Box 878, Ben Franklin Station
Washington, DC 20044-0878
(202) 514-2000
tiberius.davis@usdoj.gov

Counsel for Defendants
